EXHIBIT O
October 3, 2024


The Honorable Susan Beals
Commissioner of Elections
Washington Building
1100 Bank Street, First Floor
Richmond, VA 23219

Virginia Department of Elections
Washington Building
1100 Bank Street, First Floor
Richmond, VA 23219


Cc:

Attorney General Jason Miyares
Office of the Attorney General

Re:   Notice of Violation of National Voter Registration Act and Demand for Remediation
and Documents


VIA E-MAIL AND CERTIFIED MAIL




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Dear Commissioner Beals and Virginia Department of Elections:
       The undersigned write pursuant to 52 U.S.C. § 20510(b)(2) to inform you that Virginia’s
voter purge program mandated by Executive Order 35, relying on Virginia Code § 24.2-427, (“the
Program”) violates the National Voter Registration Act (“NVRA”).
        This NVRA notice letter follows a request from the Virginia Coalition for Immigrant Rights
(“VACIR”) to your office and to the Department of Motor Vehicles, the Office of the Attorney
General, and the Office of the Governor, for copies of all records relating to the removal from the
voter registration rolls of Virginia registered voters on the basis that they have been identified as a
potential “non-citizen.” The records were requested on August 20, 2024, pursuant to the Virginia
Freedom of Information Act (“VFOIA”), Va. Code § 2.2-3700 et seq., and the Public Disclosure
of Voter Registration Activities provision of the NVRA, 52 U.S.C. § 20507(i). As of today, your
office has made only a limited initial production of responsive records, despite a September 9
meeting with your staff and numerous emails discussing the specific records responsive to the
request. At the September 9 meeting, your staff further informed VACIR that your office is refusing
to provide the list of voters who have been removed on the basis that they were identified as a
potential “non-citizen” until 90 days after submission of the request for records, or November 18,
despite your office having these records in its possession and having no legal basis to withhold
these records.
         On August 7, 2024, Governor Youngkin signed Executive Order 35 (“E.O. 35”), providing
instructions for a voter purge program of alleged noncitizens, relying on Va. Code § 24.2-427.1
E.O. 35 requires the Commissioner of the Department of Elections to certify to the governor that
it has procedures in place to make daily updates to the statewide voter registration list to “[r]emove
individuals who are unable to verify that they are [U.S.] citizens to the Department of Motor
Vehicles[.]” E.O. 35 at 3-4; see also Va. Code § 24.2-427(B)-(C). The Department of Elections
(“ELECT”) is further required to make those daily updates to the voter rolls by comparing “the list
of individuals who have been identified as noncitizens to the list of existing registered voters[.]”
E.O. 35 at 3-4. Once ELECT has identified these individuals, “registrars notify any matches of
their pending cancellation unless they affirm their citizenship within 14 days[,]” and cancel the
voter’s registration if the registrar’s office does not receive this affirmation with 14 days of sending
the notice. Id.; see also Va. Code § 24-2.427(B)-(C). Accordingly, E.O. 35 affirmatively directs
state agencies to identify and purge voters on a systematic and ongoing basis—including during
the immediate lead up to the 2024 General Election—in direct violation of the 90-day quiet period
mandated by the NVRA. See id; 52 U.S.C. § 20507(c)(2)(A).
      E.O. 35 further demands the expedition of interagency data sharing between the
Department of Motor Vehicles (DMV) and ELECT via a daily file of all alleged “non-citizens


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  E.O. 35 claims to order the implementation of Va. Code § 24.2-429, see E.O. 35 at 4; however, the process described
in E.O. 35 more closely aligns with Va. Code § 24.2-427, which we presume E.O. 35 intended to cite. Either way, the
Program violates the NVRA for the reasons stated herein.
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transactions, including addresses and document numbers.” E.O. 35 at 4. Lastly, E.O. 35 directs the
registrars to “immediately notify the Commonwealth’s Attorney for their jurisdiction of this
alleged unlawful conduct.” Id.
         E.O. 35 has resulted and will continue to result in naturalized citizens who are eligible
voters being removed from Virginia’s voter rolls. The DMV data E.O. 35 directs ELECT to rely
on is often faulty and outdated, risking eligible voters who are U.S. citizens being identified as
non-citizens and be improperly and erroneously removed from Virginia’s voter rolls. Indeed,
Virginia drivers’ licenses are available to residents who are not U.S. citizens and can remain valid
for up to eight years, meaning that an individual could obtain a driver’s license as a non-U.S.
citizen and subsequently become a U.S. citizen and lawfully register to vote—for example by using
a paper voter registration form at their naturalization ceremony—without updating their driver’s
license. See Va. Code §§ 46.2-328.1(A), 330(A). Under these circumstances, the DMV’s records
would still indicate that an eligible voter was not a U.S. citizen at the time they obtained their
driver’s license, thereby improperly and erroneously triggering the removal process. Notably, the
DMV does not require people to show additional proof of citizenship or lawful residence when
they renew their driver’s licenses (so long as they showed such proof since 2004).2 Additionally,
it is our understanding that eligible voters often mistakenly check the wrong box during electronic
transactions with the DMV in a way that indicates they are not a citizen despite having already
confirmed their citizenship while registering to vote, thereby improperly and erroneously
triggering the removal process.
        The voter purges mandated by E.O. 35 and Va. Code § 24.2-427 violate the NVRA because:
(1) they constitute systematic voter list maintenance within 90 days preceding a federal election;
(2) they disproportionately and discriminatorily target naturalized citizens for removal and are not
being carried out uniformly across local jurisdictions; and (3) they require voters to provide
additional proof of U.S. citizenship not required by the National Mail Voter Registration
Application or voter registration applications at the DMV and public assistance agencies in order
to remain registered. See 52 U.S.C. §§ 20504(c), 20505(a), 20506(a), 20507(b).
         As detailed below, we demand that your office and all other implementing state and local
entities in Virginia immediately cease purging voters on the basis of citizenship data provided by
the DMV. We further demand, pursuant to the NVRA, that ELECT immediately produce
documents related to E.O. 35 and any voters purged on the basis of alleged non-U.S. citizenship.
If these violations are not remedied by October 6, 2024, you could be subject to federal civil
liability. See 52 U.S.C. § 20510(b).3




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  Virginia’s Legal Presence Law, Virginia Department of Motor Vehicles, available at
https://www.dmv.virginia.gov/licenses-ids/id-cards/legal-presence (last accessed Oct. 3, 2024)
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  Violations of the NVRA that occur within 30 days before a federal election may be subject to immediate civil actions
by private parties. 52 U.S.C. § 20510(b).
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    I.       Virginia’s Voter Purge Program Violates the NVRA.

             a. Virginia May Not Systematically Remove Voters from the Rolls Within 90
                Days of an Election
       Section 8(c)(2)(A) of the NVRA (the “90-Day Provision”) prohibits states from carrying
out “any program . . . to systematically remove the names of ineligible voters from the official lists
of eligible voters” within 90 days preceding an election for federal office. 52 U.S.C. §
20507(c)(2)(A). Virginia may not take any steps to implement any program to systematically
remove voters within this 90-day “quiet period.”
        The systematic purges E.O. 35 set into action undoubtedly fall within the “quiet period.”4
Governor Youngkin announced the Program on August 7, 2024—exactly 90 days before the 2024
General Election on November 5, and 45 days before the start of early in-person voting. E.O. 35
directs daily updates to purge individuals identified as potential non-U.S. citizens based on faulty
and outdated data from another state agency without a meaningful and individualized inquiry into
its accuracy. See E.O. 35 at 3-4. A single notice that must be answered within 14 days to avoid
removal, sent to voters identified from DMV lists on the basis that they at some point had a
“noncitizens transaction” with the DMV—without any further attempt either by ELECT or local
officials to investigate or confirm the current accuracy of this information—does not constitute the
type of “individual correspondence or rigorous individualized inquiry” necessary to permit lawful
removal during the 90-Day period. See Arcia v. Florida Sec’y of State, 772 F.3d 1335, 1346 (11th
Cir. 2014).
        Although the NVRA provides a narrow set of exceptions under which a state may use a
systematic program to remove a voter from the rolls during the quiet period, potential citizenship
status and the fact that an individual has been identified at some point in time as a potential
noncitizen in a DMV database are not among the enumerated exceptions. See 52 U.S.C. §
20507(c)(2)(B); Arcia, 772 F.3d at 1345 (“Congress expressly allowed for a number of exceptions
to the 90 Day Provision, and an exception for removals of non-citizens is not one of them.”).
Indeed, the Eleventh Circuit ruled that a nearly identical effort by Florida to remove purported
noncitizens from its voter rolls during the quiet period violated the NVRA. See Arcia, 772 F.3d at
1348. In Arcia, Florida had initiated programs to systematically identify and remove purported
noncitizens from the voter rolls. Id. at 1339. These programs were systematic because they “did
not rely upon individualized information or investigation to determine which names from the voter
registry to remove.” Id. at 1344; see also N.C. State Conf. of NAACP v. Bipartisan Bd. of Elections
& Ethics Enf’t, No. 1:16-CV-1274, 2018 WL 3748172, at *9 (M.D.N.C. Aug. 7, 2018) (where


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 Ex. A, Certification of Election Security Procedures Letter from Commissioner Beals to Governor Youngkin, (Sept.
19, 2024); Ex. B, Arlington County Electoral Board Minutes (Sept. 10, 2024); Ex. C, Fairfax County Policy for
Referral of Individuals Removed from Voter Rolls (Sept. 16, 2024); Ex. D, Fairfax County Electoral Board Minutes
(Aug. 15, 2024); Ex. E, Loudoun County Electoral Board Agenda Packet (Sept. 12, 2024); Ex. F, Memorandum of
Understanding between VADMV and ELECT (Sept. 3, 2024).
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cancellation of “374 voters’ registrations” based on a single source of information “lacked the
individualized inquiry necessary to survive the NVRA’s prohibition on systematic removals within
90 days of a federal general election.”). Consequently, these programs violated the NVRA’s clear
statutory language that bars a state from using “any program” to “systematically remove the names
of ineligible voters.” 52 U.S.C. § 20507(c)(2)(A).

        This Program by your office systematically identifies and removes voters from Virginia’s
voter rolls within the 90-day quiet period and is therefore a clear violation of the NVRA.
           b. E.O. 35’s List Maintenance Procedures Are Discriminatory and Their
              Application Is Not Uniform Across Jurisdictions.
        The Program also violates NVRA Section 8(b)’s requirement that list maintenance
programs be “uniform, nondiscriminatory, and in compliance with the Voting Rights Act of 1965.”
52 U.S.C. § 20507(b)(1). The NVRA reflects the view of Congress that the right to vote “is a
fundamental right,” that government has a duty to “promote the exercise of that right,” and that
discriminatory and unfair registration laws can have a “direct and damaging effect on voter
participation” and “disproportionately harm voter participation by various groups, including racial
minorities.” Project Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 334 (4th Cir. 2012); 52 U.S.C.
§ 20501(a).

        Virginia’s voter purge program threatens to improperly remove eligible voters who are
disproportionally naturalized U.S. citizens from the voter rolls because the stale data it relies upon
is significantly more likely to erroneously identify naturalized U.S. citizens as non-U.S. citizens
than individuals who were born U.S. citizens. As explained above, the DMV’s citizenship data on
driver’s license holders is not necessarily updated when an individual’s citizenship status changes,
meaning that it might improperly identify a naturalized U.S. citizen as a non-U.S. citizen for up to
eight years, or more, after naturalization. See Va. Code §§ 46.2-328.1(A), 330(A). This is not the
case for individuals born U.S. citizens, who, absent their own error in checking the wrong box on
a form, are never identified as a non-U.S. citizen in their DMV file, unless they are identified in
error. Consequently, E.O. 35 will disproportionately remove naturalized U.S. citizens from
Virginia’s voter rolls compared to their counterparts who were born U.S. citizens.

        Federal courts have looked unfavorably on similar programs which target and
disproportionately burden naturalized citizens. For example, in United States v. Florida, 870 F.
Supp. 2d 1346 (N.D. Fla. 2012), a district court explained that a similar program likely violated
Section 8(b). Id. at 1350. There, Florida’s Secretary of State compiled a list that included all
registered voters who had disclosed that they were noncitizens at the time they applied for a
driver’s license, had subsequently naturalized and registered to vote, and had not updated their
citizenship status with the state agency responsible for driver’s licenses. Id. at 1347-48. The Florida
Secretary of State ultimately abandoned this program—perhaps recognizing its fundamental
unlawfulness—before the court issued a ruling. Id. at 1351. Nevertheless, the court explained that
the program had likely violated Section 8(b) because its approach to identifying suspected

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noncitizens swept in a large number of naturalized citizens. Id. at 1350. As the court explained,
this “methodology made it likely that the properly registered citizens who would be required to
respond and provide documentation [of their citizenship] would be primarily newly naturalized
citizens.” Id. Accordingly, the “burdensome” program “was likely to have a discriminatory
impact” on this group of eligible voters in violation of Section 8(b).5 Virginia’s Program is nearly
identical to the unlawful program at issue in United States v. Florida.
        Employing similar logic, the District of Arizona recently held that a state statutory
provision that “requires county recorders to search” the SAVE database “only for naturalized
voters who county recorders suspect are not U.S. citizens” was unlawful because it “subject[ed]
only naturalized citizens to database checks.” Mi Familia Vota v. Fontes, No. CV-22-00509-PHX-
SRB, 2024 WL 862406, at *38 (D. Ariz. Feb. 29, 2024), judgment entered, No. CV-22-00509-
PHX-SRB, 2024 WL 2244338 (D. Ariz. 2024) (emphasis in original). As the court explained, using
the SAVE database means that only “[n]aturalized citizens will always be at risk” of removal from
this process, in violation of the requirement that state officials refrain from applying discriminatory
practices in determining who is qualified to vote. Id.; see also 52 U.S.C. § 10101(a)(2)(A).
       Thus, “[a] state cannot properly impose burdensome demands in a discriminatory manner”
regarding voter registration, Florida, 870 F. Supp. 2d at 1350, including by imposing those
demands disproportionately on naturalized voters. The same is true here.
        E.O. 35 and its directives targeting noncitizens will disproportionately harm naturalized
U.S. citizens who are eligible to vote in Virginia. Cf. Mi Familia Vota, 2024 WL 862406 at *22
(because state motor vehicle division “does not issue foreign-type credentials to native born
citizens, only naturalized citizens will ever be misidentified as non-citizens”). As such, this list
maintenance program is not “uniform” and “nondiscriminatory,” as required by the NVRA. 52
U.S.C. § 20507(b)(1). The Program implemented by Virginia (with a history of mistakes in its
voter removals), which disproportionately affects naturalized citizens through the use of data
containing known errors, that knowingly places burdens exclusively on those citizens to find a
way to prove their citizenship within two weeks, and that subsequently purges them en masse, is
discriminatory and violates Section 8(b).6




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  The district court’s framing of its analysis as “probably” in violation of Section 8(b) was consistent with the
procedural posture of this case, at the preliminary injunction stage, as well as the mootness of the issue due to voluntary
cessation by the Florida Secretary of State. See Florida, 870 F. Supp. 2d at 1347, 1351. The Florida district court
rejected a challenge to Florida’s program under the 90-Day Provision, on the basis that removing purported noncitizens
is not the kind of removal contemplated by the 90-Day Provision. Id. at 1349-50. The Eleventh Circuit implicitly
overruled this holding two years later in Arcia, which held that systematic removals targeting purported noncitizens
are barred by the 90-Day Provision. 772 F.3d at 1346-48; see also id. at 1348-49 (Suhrheinrich, J., dissenting) (basing
dissent in part on the reasoning of the district court in Florida regarding the 90-Day Provision).
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  See Suzanne Gamboa, Virginia removes 6,303 ‘noncitizens’ from voter rolls, fueling fraud allegations, NBC News
(Aug. 23, 2024), https://www.nbcnews.com/news/latino/virginia-governor-youngkin-voter-purge-noncitizens-errors-
election-rcna167925.
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         The Program likewise violates the NVRA’s requirement that the State “ensure that any
eligible applicant is registered to vote in an election.” 52 U.S.C. § 20507(a)(1). Virginia may not
rely upon information that is demonstrably outdated and has not been individually confirmed to
be accurate to remove voters whom federal law requires the State to “ensure” remain registered to
vote.

           c. E.O. 35 Adds a Citizenship Requirement That Is Not Permitted for Voters
              Using the Federal Form or Registering at the DMV or a Voter Registration
              Agency.

        E.O. 35’s requirement that targeted voters reaffirm their U.S. citizenship also violates the
NVRA’s limitation on proof of citizenship to an attestation under penalty of perjury that the
registrant is a U.S. citizen. See Arizona v. Inter Tribal Council of Arizona, 570 U.S. 1 (2013)
[hereinafter “ITCA”]; Fish v. Kobach, 840 F.3d 710, 723 (10th Cir. 2016); 52 U.S.C. §§
20508(b)(2)(A)-(B), 20505(a)(1)-(2). The NVRA provides that a state voter registration form “may
require only such identifying information (including the signature of the applicant) and other
information (including data relating to previous registration by the applicant), as is necessary to
enable the appropriate State election official to assess the eligibility of the applicant and to
administer voter registration and other parts of the election process.” 52 U.S.C. §§ 20508(b)(1),
20505(a)(1)-(2). Under the NVRA, a state voter registration form “shall include a statement that
(A) specifies each eligibility requirement (including citizenship); (B) contains an attestation that
the applicant meets each such requirement; and (C) requires the signature of the applicant, under
penalty of perjury.” Id. §§ 20508(b)(2), 20505(a)(1)-(2); see also id. § 20504(c) (imposing similar
requirements on voter registration forms included as part of a driver’s license application).

        Further, Virginia must “accept and use” the National Mail Voter Registration Form
(“Federal Form”) provided by the U.S. Election Assistance Commission, which does not require
documentary proof of citizenship. See ITCA, 570 U.S. at 4; see also League of Women Voters of
United States v. Harrington, 560 F. Supp. 3d 177, 180, 185-86 (D.D.C. 2021) (vacating U.S.
Election Assistance Commission approval of Alabama’s request to include a documentary proof
of citizenship requirement on its state-specific instructions for the federal voter registration form,
because the Commission did not assess whether such changes were necessary for Alabama to
assess voter eligibility and so failed to comply with the Administrative Procedure Act in its
administration of the NVRA’s requirement). Similarly, once a voter has completed a voter
registration form at the DMV or at a public assistance agency, the NVRA prohibits a state from
requiring additional documentation for them to successfully become registered. Fish v. Kobach,
309 F. Supp. 3d 1048, 1106 (D. Kan. 2018) (striking down Kansas law requiring registrants to
present additional citizenship paperwork to successfully register to vote, on both NVRA and equal
protection grounds).
      By requiring certain voters to reaffirm their U.S. citizenship to remain registered, Virginia
undermines the NVRA’s command that voters need only complete a voter registration form to be

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a registered voter in federal elections. See ITCA, 570 U.S. at 4; Fish v. Kobach, 840 F.3d at 723.
E.O. 35’s attempt to insert an additional requirement that certain voters provide additional
citizenship information about themselves as part of the State’s DMV data checks and motor voter
forms violates the long-established principle that states cannot add unnecessary voter registration
requirements at any stage of the registration process. Fish v. Kobach, 840 F.3d at 747; Fish v.
Schwab, 957 F.3d 1105, 1142 (10th Cir. 2020). Simply put, if a state cannot “overcome the
presumption that attestation [of citizenship on the voter registration form] constitutes the minimum
amount of information necessary for a state to carry out its eligibility-assessment and registration
duties[,]” it cannot add an additional proof of citizenship requirement to the voter registration
process. Fish v. Kobach, 840 F.3d at 739.
        Virginia’s attempt to add an additional citizenship verification requirement to its voter
registration process through the back door creates a “substantial risk that citizens will be
disenfranchised.” See League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C.
Cir. 2016) (holding that permitting Alabama to enforce this type of requirement for voting posed
such a risk). Such a requirement undermines the very purpose of the NVRA, which is “increas[ing]
the number of eligible citizens who register to vote in elections for Federal office.” 52 U.S.C. §
20501(b).

   II.     Demand to Cease Unlawful Action and for Production of Documents.
        For these reasons, we make the following demands on your office and any other state or
local governmental entities acting to implement the Program:
    1. Immediately cease the removal of voters from Virginia’s voter rolls on the basis of alleged
       non-U.S. citizenship pursuant to E.O. 35 and Va. Code § 24.2-427(B)-(C);

    2. Re-register any individual removed from the voter rolls pursuant to the same program;
    3. Issue a public statement that no person shall be removed from Virginia’s voter rolls
       pursuant to the same program;

    4. Provide notice to any and all individuals contacted or noticed pursuant to the same program
       that they remain registered to vote in Virginia elections, including the November 2024
       election, and that no further action on their part is needed.

        Further, the NVRA requires that Virginia, upon request, produce “all records concerning
the implementation of programs and activities conducted for the purpose of ensuring the accuracy
and currency of official lists of eligible voters.” 52 U.S.C. § 20507(i)(1). We therefore request that
the following documents be produced promptly:




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    1. Individualized voter information7 for each of the following voters and voter registration
       applicants:

                  (a) All 6,303 registered voters your office identified as potential noncitizens prior
                      to the issuance of E.O. 35;
                  (b) All voters canceled, purged, or otherwise removed from the list of eligible
                      voters pursuant on the basis of alleged non-U.S. citizenship from January 2022
                      to the present; and
                  (c) All voter registration applicants denied registration on the basis of alleged non-
                      U.S. citizenship;
                  (d) All data supplied by the DMV to ELECT identifying potential noncitizens;
    2. Any and all instructions provided to Boards of Registrars regarding implementation of E.O.
       35, Va. Code § 24.2-427 or any other program intended to remove non-U.S. citizens from
       the voter rolls;
    3. Any and all communications with the Virginia Attorney General and Commonwealth
       Attorneys regarding notifications or referrals of the removal of registered voters your office
       identified as potential noncitizens;
    4. All documents relating to any notice provided to the registered voters your office identified
       as potential noncitizens;
    5. All records supporting your contention that noncitizens “purposefully” or “accidentally”
       registered to vote;
    6. All documents supporting your contention that the 6,303 registered voters or voters referred
       to in E.O. 35 were potentially noncitizens, including the source(s) of information for
       determining these registered voters purportedly had noncitizen transactions, including
       addresses and document numbers;
    7. All documents regarding any steps taken by ELECT or other state or local agencies to
       determine prior to removal whether any of the registered voters identified as potential
       noncitizens since January 15, 2022 are, in fact, naturalized citizens;
    8. All advisory or guidance documents, whether formal or informal, provided to ELECT,
       DMV, county Boards of Registrars, Probate Judges, and/or other county election
       administrators regarding the implementation of E.O. 35, Va. Code § 24.2-427 or any other
       program intended to remove non-U.S. citizens from the voter rolls;
    9. All documents relating to the removal of any of registered voter identified as a potential
       non-U.S. citizen since January 15, 2022;


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  “Individualized voter information” as used in this request includes: first name; last name; middle name; suffix;
address, including street number, apartment number, city, state, zip code, and county; mailing address, if different;
phone number; precinct number; voter ID number assigned by an election official; date of birth; place of birth; date
of voter registration; race; gender; reason purged from voter roll or denied registration; and date purged from voter
roll or denied registration.
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   10. All communications regarding the development, implementation, or announcement of the
       Program, including but not limited to:

          a) internal communications of the Secretary of Commonwealth’s office;
          b) internal communications of ELECT;
          c) communications between ELECT and other State agencies, including but not limited
             to the office of the Governor, the office of the Attorney General, and the office of
             the Secretary of Commonwealth;
          d) communications between the office of the Governor and any legislative branch
             officials or employees;
          e) communications between ELECT and any federal officeholder or agency;
          f) communications between ELECT or the Secretary of Commonwealth’s office and
             any county officials, including but not limited to Boards of Registrars, Probate
             Judges, and other county election administrators;
          g) communications between ELECT or the Secretary of Commonwealth’s office and
             any outside organizations, consultants, experts, or advisers;
          h) communications between the Secretary of Commonwealth’s office and the media;
          i) communications between the Secretary of Commonwealth’s office and members of
             the public; and
          j) any other communications related to E.O. 35.

        We expect that any charge for these records will be a “reasonable cost,” as required under
the NVRA’s Public Disclosure Provision. 52 U.S.C. § 20507(i)(1). Please inform us of the expected
cost prior to delivery if it exceeds $100.
        We would prefer to receive all records in electronic format via email or other electronic
method, if possible, to the email addresses provided in the signatures. If this is not possible, we
are happy to confer about other ways we can meaningfully access these records. If any responsive
documents or communications are in your possession or the possession of any employees of
ELECT, the Secretary of Commonwealth on non-governmental computers, on electronic devices,
or in paper copy, please include such documents and communications in your production.


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        The program you announced on August 7, 2024, plainly violates the NVRA. As you know,
the next election for federal offices will occur on November 5, 2024, which is less than 120 days
away and will be less than 30 days away on October 6, 2024. If the violations identified above are
not corrected by October 6, 2024, the undersigned may seek declaratory or injunctive relief to
remedy these violations. See 52 U.S.C.A. § 20510 (“If the violation occurred within 30 days before
the date of an election for Federal office, the aggrieved person need not provide notice to the chief
election official of the State . . . before bringing a civil action[.]”).


Sincerely,
 /s/ Brent Ferguson
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                                                 11
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